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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            v.                      )                Case No. 21-348 (GJH)
                                    )
BRIAN McQUADE,                      )
                                    )
            Defendant.              )
____________________________________)

                                 MOTION TO WITHDRAW

       David Schertler and Noah Cherry (“Counsel”), hereby move this Court for an order

granting them permission to withdraw as counsel for defendant, Brian McQuade. The reasons

supporting this motion are set forth below.

                                         ARGUMENT

       On September 2, 2021, an indictment was returned charging Brian McQuade with two

counts of wire fraud. Mr. McQuade was arrested and arraigned before this Court on September

20, 2021. Mr. McQuade was originally represented in this matter by Kristina Leslie of the Federal

Public Defender on appointment from Magistrate Judge Charles Day. Counsel were later retained

to represent Mr. McQuade in this matter in October 2021.

       Counsel move the Court for permission to withdraw as Mr. McQuade’s counsel. Counsel

believe that there are irreconcilable conflicts in their continued representation of Mr. McQuade as

well as an irreparable breakdown in communications between Mr. McQuade and Counsel.

Moreover, under Rule 1.16(b)(4) of the Maryland Rules of Professional Conduct, Counsel believe

that the client is insisting on a course of action with which Counsel have a fundamental

disagreement.
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       Further, Mr. McQuade’s son has repeatedly accused Counsel of committing ethical

violations and making false representations in connection with Counsel’s handling of the case. As

recently as December 2022, Mr. McQuade’s son sent Counsel an email indicating, among other

things, that the plea agreement Counsel negotiated with Government counsel was “worthless” and

that Counsel “are clearly not looking out for my dad’s best interests anymore and the ethical

violations that will likely need to be addressed are incredibly concerning.”        Under these

circumstances, Counsel can no longer effectively represent Mr. McQuade.

       Mr. McQuade can either retain new counsel or seek leave of the Court to appoint counsel

to represent him. Again, prior to Counsel being retained, Mr McQuade was represented by an

attorney with the Maryland Federal Public Defenders’ Office.

       As the Court knows, there is no pending trial date or even motions date in this matter and

thus Mr. McQuade will not be prejudiced in any way by the change in counsel. Counsel will, of

course, and as required by Rule 1.16(d), cooperate fully in the transfer of this case to a new

attorney.

       Counsel have notified Mr. McQuade of this request and asked Mr. McQuade multiple times

whether he will consent to Counsel’s withdrawal. Mr. McQuade has not responded, further

evidencing the breakdown in communications and the deterioration of the attorney-client

relationship between Counsel and Mr. McQuade.

       Counsel have also notified government counsel of this request earlier today and

government counsel has not yet indicated their position on the motion.

       Nonetheless, for the reasons set forth above, Counsel seek the Court’s permission to

withdraw from this case.




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                                       CONCLUSION

       For the reasons set forth above, Counsel for Mr. McQuade respectfully ask this Court to

grant Counsel permission to withdraw from this matter.



Dated: January 27, 2023

                                           Respectfully submitted,



                                           /s/ David Schertler
                                           David Schertler
                                           Noah Cherry
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                                CERTIFICATE OF SERVICE

       I hereby certified that, on this 27th day of January, 2023, a copy of the foregoing Motion to

Withdraw was served via ECF on all related parties.



                                                             /s/ Noah Cherry




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